   Case 1:18-cr-00398-RPK Document 317 Filed 01/22/24 Page 1 of 2 PageID #: 3596




                                                                January 22, 2024

Hon. Rachel P. Kovner
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201


                                      Re:     United States v. Luis Rivas, 18-CR-398 (RPK)

Dear Judge Kovner:

        In its sentence memorandum, the government urges the Court not to decide whether
Mr. Rivas’s April 17, 2017 robbery and his October 2018 assault in aid of racketeering
constitute relevant conduct because resolution of such a “dispute” is not necessary if it will not
affect the ultimate sentence. In so doing, the government cites to Fed. R. Crim. Proc.
32(i)(3)(B) and two cases where the Second Circuit concluded that adjudication of a guidelines
dispute was not necessary where the record made clear that it would not affect the sentence.
The government correctly stated the law concerning guideline disputes.

        Here, however, there is no dispute. As the Court undoubtedly noticed, the government
failed to state in its request that the two convictions were not relevant conduct, and, indeed,
such a position could not be taken in good faith. Of course the two convictions constitute
relevant conduct – both were part of Mr. Rivas’s membership and participation in the activities
of the racketeering enterprise of which he was convicted.

        Where there is no dispute to resolve, the Court should make sure that the Presentence
Report is accurate and correct. The report travels with Mr. Rivas through his time in the BOP,
and his final guideline and criminal history should be correctly calculated, if not for a
determination of his sentence, then for future prison administrators or future judges who might
need to consult the report. Without the four criminal history points contained in ¶¶ 101 and
102, Mr. Rivas’s criminal history category would change from III to I, and his final guideline
range at level 40 would change from 360 months to life to 292-365 months (or at level 41 from
360-life to 324-405 months). This is not an insignificant change in the PSR – even if the
agreed-upon sentence of 420 months is imposed – and Mr. Rivas has a right to be sentenced
with an accurate and correct Presentence Report. Accordingly, we renew our request for the
Court to make the requisite finding and amend the PSR.
      Case 1:18-cr-00398-RPK Document 317 Filed 01/22/24 Page 2 of 2 PageID #: 3597
                                                                                   2


        Thank you for your consideration.

                                                        Respectfully submitted,

                                                               /s/

                                                        Florian Miedel
                                                        Jeremy Schneider
                                                        Attorneys for Luis Rivas

Cc:     All Counsel
